                      Case 23-90088 Document 1 Filed in TXSB on 02/14/23 Page 1 of 31


Fill in this information to identify the case:

United States Bankruptcy Court for the:
                           Southern District of Texas
                                          (State)                                                                                   ☐ Check if this is an
Case number (if known):                                        Chapter       11                                                         amended filing



      Official Form 201
      Voluntary Petition for Non-Individuals Filing for
      Bankruptcy                                                                                                                                    06/22
      If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the
      case number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is
      available.




1.   Debtor’s Name                               Avaya Inc.


                                                 OCTEL Communications LLC
2. All other names debtor used
   in the last 8 years


     Include any assumed names,
     trade names, and doing
     business as names

3. Debtor’s federal Employer
   Identification Number (EIN)                   XX-XXXXXXX


4. Debtor’s address                       Principal place of business                                 Mailing address, if different from principal place
                                                                                                      of business
                                          350 Mount Kemble Avenue                                     2605 Meridian Parkway, Suite 200
                                          Number              Street                                  Number         Street




                                          Morristown                   New Jersey      07960          Durham                  North Carolina       27713
                                          City                               State   Zip Code         City                           State     Zip Code

                                                                                                      Location of principal assets, if different from
                                                                                                      principal place of business

                                          County                                                      Number         Street




                                                                                                      City                           State     Zip Code




5. Debtor’s website (URL)                 https://www.avaya.com/en/

6.   Type of debtor                       ☒ Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))

                                          ☐ Partnership (excluding LLP)

                                          ☐ Other. Specify:



      Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                     page 1
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Debtor            Avaya Inc.                                                       Case number (if known)
           Name



                                            A. Check One:
7.   Describe debtor’s business
                                            ☐ Health Care Business (as defined in 11 U.S.C. § 101(27A))

                                            ☐ Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))

                                            ☐ Railroad (as defined in 11 U.S.C. § 101(44))

                                            ☐ Stockbroker (as defined in 11 U.S.C. § 101(53A))

                                            ☐ Commodity Broker (as defined in 11 U.S.C. § 101(6))

                                            ☐ Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                            ☒ None of the above

                                            B. Check all that apply:
                                            ☐ Tax-exempt entity (as described in 26 U.S.C. § 501)

                                            ☐ Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C.
                                               § 80a-3)
                                            ☐ Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))

                                            C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                               http://www.uscourts.gov/four-digit-national-association-naics-codes .
                                            5191 - Other Information Services

8. Under which chapter of the               Check One:
   Bankruptcy Code is the
   debtor filing?                           ☐ Chapter 7

                                            ☐ Chapter 9

     A debtor who is a “small               ☒ Chapter 11. Check all that apply:
     business debtor” must check the
     first sub- box. A debtor as                              ☐ The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its
     defined in § 1182(1) who elects                            aggregate noncontingent liquidated debts (excluding debts owed to insiders or
     to proceed under subchapter V                              affiliates) are less than $3,024,725. If this sub-box is selected, attach the most recent
     of chapter 11 (whether or not the                          balance sheet, statement of operations, cash-flow statement, and federal income tax
     debtor is a “small business                                return or if any of these documents do not exist, follow the procedure in 11 U.S.C. §
     debtor”) must check the second                             1116(1)(B).
     sub-box.
                                                              ☐ The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent
                                                                liquidated debts (excluding debts owed to insiders or affiliates) are less than
                                                                $7,500,000, and it chooses to proceed under Subchapter V of Chapter 11. If this
                                                                sub-box is selected, attach the most recent balance sheet, statement of operations,
                                                                cash-flow statement, and federal income tax return, or if any of these documents do
                                                                not exist, follow the procedure in 11 U.S.C.§ 1116(1)(B).
                                                              ☒ A plan is being filed with this petition.

                                                              ☒ Acceptances of the plan were solicited prepetition from one or more classes of
                                                                creditors, in accordance with 11 U.S.C. § 1126(b).
                                                              ☐ The debtor is required to file periodic reports (for example, 10K and 10Q) with the
                                                                Securities and Exchange Commission according to § 13 or 15(d) of the Securities
                                                                Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-Individuals
                                                                Filing for Bankruptcy under Chapter 11 (Official Form 201A) with this form.
                                                              ☐ The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule
                                                                12b-2.
                                            ☐ Chapter 12

9. Were prior bankruptcy cases           ☐ No      District    Southern District               01/19/2017
   filed by or against the debtor        ☒ Yes.                of New York            When     MM/DD/YYYY        Case number      17-10089 (SMB)
   within the last 8 years?
                                                   District                           When                       Case number
     If more than 2 cases, attach a                                                            MM/DD/YYYY
     separate list.




     Official Form 201                       Voluntary Petition for Non-Individuals Filing for Bankruptcy                                         page 2
                     Case 23-90088 Document 1 Filed in TXSB on 02/14/23 Page 3 of 31
Debtor           Avaya Inc.                                                         Case number (if known)
          Name



10. Are any bankruptcy cases            ☐ No
    pending or being filed by a         ☒ Yes.       Debtor        See Rider 1                                     Relationship     Affiliate
    business partner or an
    affiliate of the debtor?
   List all cases. If more than 1,                   District     Southern District of Texas                       When             02/14/2023
   attach a separate list.                         Case number, if known ___________                                                MM / DD / YYYY

11. Why is the case filed in this      Check all that apply:
    district?
                                       ☐    Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                            immediately preceding the date of this petition or for a longer part of such 180 days than in any other
                                            district.
                                       ☒    A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.


12. Does the debtor own or have        ☒ No
    possession of any real             ☐ Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
    property or personal property
    that needs immediate                         Why does the property need immediate attention? (Check all that apply.)
    attention?
                                                 ☐     It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or
                                                       safety.
                                                       What is the hazard?

                                                 ☐     It needs to be physically secured or protected from the weather.

                                                   ☐    It includes perishable goods or assets that could quickly deteriorate or lose value without
                                                        attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related
                                                        assets or other options).
                                                 ☐     Other


                                                 Where is the property?
                                                                                      Number          Street



                                                                                      City                                  State       Zip Code



                                                 Is the property insured?
                                                 ☐ No

                                                 ☐ Yes.         Insurance agency

                                                                Contact name
                                                                Phone




                       Statistical and administrative information

13. Debtor's estimation of            Check one:
    available funds
                                      ☒ Funds will be available for distribution to unsecured creditors.
                                      ☐ After any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.




   Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                            page 3
                     Case 23-90088 Document 1 Filed in TXSB on 02/14/23 Page 4 of 31
Debtor           Avaya Inc.                                                          Case number (if known)
          Name



14. Estimated number of              ☐       1-49                       ☐     1,000-5,000                            ☒    25,001-50,000
    creditors (on a                  ☐       50-99                      ☐     5,001-10,000                           ☐    50,001-100,000
    consolidated basis)              ☐       100-199                    ☐     10,001-25,000                          ☐    More than 100,000
                                     ☐       200-999

15. Estimated assets (on a           ☐       $0-$50,000                 ☐     $1,000,001-$10 million                 ☐    $500,000,001-$1 billion
    consolidated basis)              ☐       $50,001-$100,000           ☐     $10,000,001-$50 million                ☒    $1,000,000,001-$10 billion
                                     ☐       $100,001-$500,000          ☐     $50,000,001-$100 million               ☐    $10,000,000,001-$50 billion
                                     ☐       $500,001-$1 million        ☐     $100,000,001-$500 million              ☐    More than $50 billion

16. Estimated liabilities (on        ☐       $0-$50,000                  ☐    $1,000,001-$10 million                 ☐ $500,000,001-$1 billion
    a consolidated basis)            ☐       $50,001-$100,000            ☐    $10,000,001-$50 million                ☒ $1,000,000,001-$10 billion
                                     ☐       $100,001-$500,000           ☐    $50,000,001-$100 million               ☐ $10,000,000,001-$50 billion
                                     ☐       $500,001-$1 million         ☐    $100,000,001-$500 million              ☐ More than $50 billion

                   Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to
           $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature of         The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this
    authorized representative of         petition.
    debtor
                                         I have been authorized to file this petition on behalf of the debtor.
                                         I have examined the information in this petition and have a reasonable belief that the information is true and
                                         correct.

                                I declare under penalty of perjury that the foregoing is true and correct.

                                         Executed on         02/14/2023
                                                              MM/ DD / YYYY


                                              /s/ Eric Koza                                                      Eric Koza
                                              Signature of authorized representative of debtor                Printed name

                                              Title    Chief Restructuring Officer




18. Signature of attorney                     /s/ Matthew D. Cavenaugh                                       Date        02/14/2023
                                              Signature of attorney for debtor                                           MM/DD/YYYY



                                              Matthew D. Cavenaugh
                                              Printed name
                                              Jackson Walker LLP
                                              Firm name
                                              1401 McKinney Street, Suite 1900
                                              Number                 Street
                                              Houston                                                                Texas             77010
                                                                                                                     State               ZIP Code

                                              (713) 752-4200                                                         mcavenaugh@jw.com
                                              Contact phone                                                             Email address
                                              24062656                                            Texas
                                              Bar number                                          State




   Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 4
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 Fill in this information to identify the case:
                                                                        ,
 United States Bankruptcy Court for the:
                        Southern District of Texas
                                     (State)                                                   ☐ Check if this is an
 Case number (if                                                                                   amended filing
 known):                                             Chapter   11



                                              Rider 1
               Pending Bankruptcy Cases Filed by the Debtor and Affiliates of the Debtor

        On the date hereof, each of the entities listed below (collectively, the “Debtors”) filed a petition in
the United States Bankruptcy Court for the Southern District of Texas for relief under chapter 11 of title 11
of the United States Code. The Debtors have moved for joint administration of these cases under the case
number assigned to the chapter 11 case of Avaya Inc.

 Avaya Inc.                                                    CAAS Technologies, LLC
 Avaya CALA Inc.                                               CTIntegrations, LLC
 Avaya Cloud Inc.                                              HyperQuality II, LLC
 Avaya EMEA Ltd.                                               HyperQuality, Inc.
 Avaya Federal Solutions, Inc.                                 Intellisist, Inc.
 Avaya Holdings Corp.                                          KnoahSoft, Inc.
 Avaya Holdings LLC                                            Sierra Asia Pacific Inc.
 Avaya Integrated Cabinet Solutions LLC                        Sierra Communication International LLC
 Avaya Management L.P.                                         Ubiquity Software Corporation
 Avaya Management Services Inc.                                VPNet Technologies, Inc.
 Avaya World Services Inc.
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                              IN THE UNITED STATES BANKRUPTCY COURT
                                FOR THE SOUTHERN DISTRICT OF TEXAS
                                          HOUSTON DIVISION

                                                       )
    In re:                                             )    Chapter 11
                                                       )
    AVAYA INC.,                                        )    Case No. 23-___________(___)
                                                       )
                              Debtor.                  )
                                                       )

                                   LIST OF EQUITY SECURITY HOLDERS1

                                                                                           Percentage of
             Equity Holders                     Address of Equity Holder
                                                                                            Equity Held
                                                   1209 Orange Street
         Avaya Holdings Corp.                                                                  100%
                                               Wilmington Delaware 19801




1      This list serves as the disclosure required to be made by the debtor pursuant to Rule 1007 of the
       Federal Rules of Bankruptcy Procedure. All equity positions listed indicate the record holder of such
       equity as of the date of commencement of the chapter 11 case.
          Case 23-90088 Document 1 Filed in TXSB on 02/14/23 Page 7 of 31



                          IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE SOUTHERN DISTRICT OF TEXAS
                                      HOUSTON DIVISION

                                                      )
 In re:                                               )    Chapter 11
                                                      )
 AVAYA INC.,                                          )    Case No. 23-___________(___)
                                                      )
                          Debtor.                     )
                                                      )

                                    CORPORATE OWNERSHIP STATEMENT

         Pursuant to Rules 1007(a)(1) and 7007.1 of the Federal Rules of Bankruptcy Procedure, the
following are corporations, other than a government unit, that directly or indirectly own 10% or more of any
class of the debtor’s equity interest:

                   Shareholders                            Approximate Percentage of Shares Held

                Avaya Holdings Corp.                                          100%
                            Case 23-90088 Document 1 Filed in TXSB on 02/14/23 Page 8 of 31


     Fill in this information to identify the case:

      Debtor name    Avaya Inc., et al.1

      United States Bankruptcy Court for the: Southern District of Texas

      Case number (If known):
                                                                               (State)
                                                                                                                                        Check if this is an
                                                                                                                                           amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: Consolidated List of Creditors Who Have the
30 Largest Unsecured Claims and Are Not Insiders                       12/15

A list of creditors holding the 30 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the debtor
disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not include claims by
secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor among the holders of the 30 largest
unsecured claims.


    Name of creditor and complete            Name, telephone number, and             Nature of the    Indicate if     Amount of unsecured claim
    mailing address, including zip           email address of creditor               claim (for       claim is        If the claim is fully unsecured, fill in only
    code                                     contact                                 example, trade   contingent,     unsecured claim amount. If claim is partially
                                                                                     debts, bank      unliquidated,   secured, fill in total claim amount and
                                                                                     loans,           or disputed     deduction for value of collateral or setoff to
                                                                                     professional                     calculate unsecured claim.
                                                                                     services, and
                                                                                     government                       Total        Deduction         Unsecured
                                                                                     contracts)                       claim, if    for value of      claim
                                                                                                                      partially    collateral or
                                                                                                                      secured      setoff


           VERINT AMERICAS INC
           EMILY SANDOVAL
                                             EMILY SANDOVAL
           800 NORTH POINT
     1                                       PHONE: 770-754-8719                         TRADE DEBT                                                 $22,936,522.65
           PARKWAY
                                             EMAIL: EMILY.SANDOVAL@VERINT.COM
           SUITE 100
           ALPHARETTA, GA 30005


           MICROSOFT
                                             OLIVER RAYMOND
           CORPORATION
                                             PHONE: 516-220-8783
     2     OLIVER RAYMOND                                                                TRADE DEBT                                                  $9,008,885.02
                                             EMAIL:
           11 TIMES SQUARE
                                             OLIVER.RAYMOND@MICROSOFT.COM
           NEW YORK, NY 10036


           WISTRON CORPORATION
           STANLEY CHUNG                     STANLEY CHUNG
           21F 88 SEC 1 HSIN TAI WU          PHONE: 886-0-2-6612-2905
     3                                                                                   TRADE DEBT                                                  $8,927,267.53
           ROAD                              EMAIL:
           TAIPEI HSEIN, 221                 STANLEY_CH_CHUNG@WISTRON.COM
           TAIWAN



           SHI INTERNATIONAL CORP
                                             RICK MARKS
           RICK MARKS
     4                                       PHONE: 732 868 5964                         TRADE DEBT                                                  $7,706,044.90
           290 DAVIDSON AVENUE
                                             EMAIL: RICK_MARKS@SHI.COM
           SOMERSET, NJ 08873


           SOLABORATE LLC
           STANLEY M. GIBSON
                                             STANLEY M. GIBSON
           1900 AVENUE OF THE
     5                                       PHONE: 310-203-8080                     TRADE DEBT                                                      $7,250,000.00
           STARS, 7TH FLOOR
                                             EMAIL: SGIBSON@JMBM.COM
           LOS ANGELES, CA 90067-
           4308




1
    Includes all Debtor entities except Avaya Holdings Corp.
Official Form 204                     Chapter 11 or Chapter 9 Cases: Consolidated List of Creditors Who Have the 30 Largest Unsecured Claims               page 1
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    Debtor   Avaya Inc., et al.1                                                                   Case number (if known)
             Name



     Name of creditor and complete         Name, telephone number, and           Nature of the    Indicate if       Amount of unsecured claim
     mailing address, including zip        email address of creditor             claim (for       claim is          If the claim is fully unsecured, fill in only
     code                                  contact                               example, trade   contingent,       unsecured claim amount. If claim is partially
                                                                                 debts, bank      unliquidated,     secured, fill in total claim amount and
                                                                                 loans,           or disputed       deduction for value of collateral or setoff to
                                                                                 professional                       calculate unsecured claim.
                                                                                 services, and
                                                                                 government                         Total        Deduction         Unsecured
                                                                                 contracts)                         claim, if    for value of      claim
                                                                                                                    partially    collateral or
                                                                                                                    secured      setoff

             TAPFIN PROCESS
             SOLUTIONS                     KATIE POWERS
      6      KATIE POWERS                  PHONE: 804-683-5393                    TRADE DEBT                                                       $6,857,021.92
             100 MANPOWER PLACE            EMAIL: KATIE.POWERS@TAPFIN.COM
             MILWAUKEE, WI 53212



             AVNET INC
                                           KARINA SEIR
             KARINA SEIR
      7                                    PHONE: 305-925-8210                    TRADE DEBT                                                       $4,151,633.39
             2021 LAKESIDE BLVD
                                           EMAIL: AVNET-PMT-REMIT@AVNET.COM
             RICHARDSON, TX 75082


             MERA SOFTWARE
             SERVICES INC
                                           BILL TIMM
             BILL TIMM
      8                                    PHONE: 214-471-0117                    TRADE DEBT                                                       $3,786,145.32
             333 THORNALL STREET 7TH
                                           EMAIL: BILL.TIMM@ORIONINC.COM
             FLOOR
             EDISON, NJ 08837


             RIMINI STREET INC
             SEBASTIAN GRADY               SEBASTIAN GRADY
      9      72751 W LAKE MEAD BLVD,       PHONE: 510-914-1712                    TRADE DEBT                                                       $3,647,076.00
             STE 300                       EMAIL: SGRADY@RIMINISTREET.COM
             LAS VEGAS, NV 89128




             NUANCE
             COMMUNICATIONS INC            STEPHANIE BODAH
      10     STEPHANIE BODAH               PHONE: 978-977-2000                    TRADE DEBT                                                       $2,966,978.50
             ONE WAYSIDE ROAD              EMAIL: AR@NUANCE.COM
             BURLINGTON, MA 01803




             CONVERGEONE                   JOY AMELIA
             JOY AMELIA                    PHONE: 973-487-8727
      11                                                                          TRADE DEBT                                                       $2,520,886.08
             10900 NESBITT AVE S           EMAIL: WIREALERTS
             BLOOMINGTON, MN 55437         @CONVERGEONE.COM



             VMWARE INC
                                           MICHAEL STIVERS
             MICHAEL STIVERS
      12                                   PHONE: 973-356-7536                    TRADE DEBT                                                       $2,512,505.42
             3401 HILLVIEW AVENUE
                                           EMAIL: MSTIVERS@VMWARE.COM
             PALO ALTO, CA 94304


             SUTHERLAND GLOBAL
             SERVICES                      VIJAY VENUGOPAL
             VIJAY VENUGOPAL               PHONE: 866-805-0089
      13                                                                          TRADE DEBT                                                       $2,253,922.09
             1160 PITTSFORD VICTOR         EMAIL: SGSAVAYAINVOICES
             ROAD                          @SUTHERLANDGLOBAL.COM
             PITTSFORD, NY 14534

             CIS SECURE COMPUTING
             INC                           MARIA KIM
             MARIA KIM                     PHONE: 703-289-3522
      14                                                                          TRADE DEBT                                                       $2,126,912.01
             21050 ASHBURN CROSSING        EMAIL: ACCOUNTSRECEIVABLE
             DR SUITE 145                  @CISSECURE.COM
             ASHBURN, VA 20147


1
    Includes all Debtor entities except Avaya Holdings Corp.
Official Form 204                  Chapter 11 or Chapter 9 Cases: Consolidated List of Creditors Who Have the 30 Largest Unsecured Claims                page 2
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    Debtor   Avaya Inc., et al.1                                                                   Case number (if known)
             Name



     Name of creditor and complete         Name, telephone number, and           Nature of the    Indicate if       Amount of unsecured claim
     mailing address, including zip        email address of creditor             claim (for       claim is          If the claim is fully unsecured, fill in only
     code                                  contact                               example, trade   contingent,       unsecured claim amount. If claim is partially
                                                                                 debts, bank      unliquidated,     secured, fill in total claim amount and
                                                                                 loans,           or disputed       deduction for value of collateral or setoff to
                                                                                 professional                       calculate unsecured claim.
                                                                                 services, and
                                                                                 government                         Total        Deduction         Unsecured
                                                                                 contracts)                         claim, if    for value of      claim
                                                                                                                    partially    collateral or
                                                                                                                    secured      setoff


             MARKETSOURCE INC
                                           MIATTA SONII
             MIATTA SONII
                                           PHONE: 770-674-5000
      15     11675 GREAT OAKS WAY                                                 TRADE DEBT                                                       $2,098,473.13
                                           EMAIL: FINANCEOPS-ASSOCIATETEAM
             SUITE 200
                                           @MARKETSOURCE.COM
             ALPHARETTA, GA 30022


             TMA SOLUTIONS CO LTD
             ALEX NEWCOMBE
                                           ALEX NEWCOMBE
             111 NGUYEN DINH CHINH
      16                                   PHONE: 84-0283990384                   TRADE DEBT                                                       $1,714,828.96
             STREET
                                           EMAIL: ANEWCOMBE@TMA.COM.VN
             HO CHI MINH CITY, 70000
             VIETNAM

             INNOVATIA TECHNICAL
             SERVICES INC
                                           ANDREA SHERWOOD
             ANDREA SHERWOOD
                                           PHONE: 506-640-4118
      17     ATRIUM SUITES 1 GERMAIN                                              TRADE DEBT                                                       $1,691,679.41
                                           EMAIL:
             STREET
                                           ANDREA.SHERWOOD@INNOVATIA.NET
             SAINT JOHN, NB E2L 4V1
             CANADA


             CONCENTRIX CVG
                                           TRISH MCGARVEY
             CUSTOMER MANAGEMENT
                                           PHONE: 902-537-0647
      18     TRISH MCGARVEY                                                       TRADE DEBT                                                       $1,611,296.61
                                           EMAIL:
             44111 NOBEL DRIVE
                                           TRISH.MCGARVEY@CONCENTRIX.COM
             FREMONT, CA 94538



             INTRADIEM INC
             BRYAN MENETRE JR.             BRYAN MENETRE JR.
      19     3650 MANSELL RD SUITE         PHONE: 810-406-6071                    TRADE DEBT                                                       $1,547,149.54
             500                           EMAIL: AR@INTRADIEM.COM
             ALPHARETTA, GA 30022


             LUXOFT GLOBAL
             OPERATIONS GMBH               IOANA MIHUT
             IOANA MIHUT                   PHONE: 414-172-32040
      20                                                                          TRADE DEBT                                                       $1,486,589.28
             GUBELSTRASSE 24               EMAIL:
             ZUG 6300                      LGOAVAYACOUPA@LUXOFT.COM
             SWITZERLAND



             BETSOL LLC                    AMANDA CHAMBERS
             AMANDA CHAMBERS               PHONE: 720-452-6577
      21                                                                          TRADE DEBT                                                       $1,452,867.35
             10901 W 120TH AVENUE          EMAIL:
             BROOMFIELD, CO 80021          ACCOUNTSRECEIVABLE@BETSOL.COM


             SYNCREON TECHNOLOGY
             USA LLC                       BECKY WELLS
             BECKY WELLS                   PHONE: 248-377-4700
      22                                                                          TRADE DEBT                                                       $1,151,662.42
             2851 HIGH MEADOW              EMAIL: ACCOUNTSRECEIVABLEUS17
             CIRCLE SUITE 250              @SYNCREON.COM
             AUBURN HILLS, MI 48326


             OD SOFT LLC
                                           OLEKSII BATYREV
             OLEKSII BATYREV
      23                                   PHONE: 650-472-3707                    TRADE DEBT                                                       $1,095,583.98
             16192 COASTAL HWY
                                           EMAIL: ABATYREV@GMAIL.COM
             LEWES, DE 19958




1
    Includes all Debtor entities except Avaya Holdings Corp.
Official Form 204                  Chapter 11 or Chapter 9 Cases: Consolidated List of Creditors Who Have the 30 Largest Unsecured Claims                page 3
                            Case 23-90088 Document 1 Filed in TXSB on 02/14/23 Page 11 of 31

    Debtor   Avaya Inc., et al.1                                                                     Case number (if known)
             Name



     Name of creditor and complete           Name, telephone number, and           Nature of the    Indicate if       Amount of unsecured claim
     mailing address, including zip          email address of creditor             claim (for       claim is          If the claim is fully unsecured, fill in only
     code                                    contact                               example, trade   contingent,       unsecured claim amount. If claim is partially
                                                                                   debts, bank      unliquidated,     secured, fill in total claim amount and
                                                                                   loans,           or disputed       deduction for value of collateral or setoff to
                                                                                   professional                       calculate unsecured claim.
                                                                                   services, and
                                                                                   government                         Total        Deduction         Unsecured
                                                                                   contracts)                         claim, if    for value of      claim
                                                                                                                      partially    collateral or
                                                                                                                      secured      setoff


             DATADOG INC
                                             ROBERT GRANT
             ROBERT GRANT
                                             PHONE: 415-516-7105
      24     620 8TH AVE                                                            TRADE DEBT                                                       $1,051,533.89
                                             EMAIL:
             45TH FLOOR
                                             ROBERT.GRANT@DATADOGHQ.COM
             NEW YORK, NY 10018



             ALTRAN ACT S A S
             AMIT OBEROI                     AMIT OBEROI
             96 AVENUE CHARLES DE            PHONE: 444-422-6001
      25                                                                            TRADE DEBT                                                       $1,049,171.17
             GAULLE                          EMAIL:
             PARIS, 92200                    ALL_REVENUE_TEAM@CAPGEMINI.COM
             FRANCE

             GREAT SOFTWARE
             LABORATORY PVT LTD
             AMOD BHATE
                                             AMOD BHATE
             AMAR ARMA GENESIS
      26                                     PHONE: 91-98228-60795                  TRADE DEBT                                                        $966,647.22
             BANER
                                             EMAIL: AMOD.BHATE@GSLAB.COM
             PUNE, MAHARASHTRA
             411045
             INDIA

             AB SOFT INC
             LORA PASLOVA                    LORA PASLOVA
      27     1343 SAN MATEO AVE              PHONE: 650-472-3085                    TRADE DEBT                                                        $905,799.80
             SOUTH SAN FRANCISCO,            EMAIL: LORA.PASLOVA@AB-SOFT.NET
             CA 94080



             RED HAT INC
                                             ADAM C KUZINSKI
             ADAM C KUZINSKI
      28                                     PHONE: 972-999-5309                    TRADE DEBT                                                        $903,943.77
             100 EAST DAVIE ST
                                             EMAIL: AKUZINSK@REDHAT.COM
             RALEIGH, NC 27601



             GOOGLE LLC
             JOCELYN DE ALMEIDA              JOCELYN DE ALMEIDA
      29     1600 AMPHITHEATRE               PHONE: 704-668-6966                    TRADE DEBT                                                        $890,683.27
             PARKWAY                         EMAIL: JDEALMEIDA@GOOGLE.COM
             MOUNTAIN VIEW, CA 94043




             AIVEN OY,
                                             DAN GOUGE
             DAN GOUGE
      30                                     PHONE: 416-886-6671                     Trade debt                                                       $854,416.62
             Antinkatu 1, Helsinki, 100,
                                             EMAIL: DANIEL.GOUGE@AIVEN.IO
             Finland




1
    Includes all Debtor entities except Avaya Holdings Corp.
Official Form 204                    Chapter 11 or Chapter 9 Cases: Consolidated List of Creditors Who Have the 30 Largest Unsecured Claims                page 4
                Case 23-90088 Document 1 Filed in TXSB on 02/14/23 Page 12 of 31




    Fill in this information to identify the case and this filing:

   Debtor Name          Avaya Inc.

   United States Bankruptcy Court for the:                             Southern District of Texas
                                                                                       (State)
   Case number (If known):


Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                           12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and
submit this form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in
the document, and any amendments of those documents. This form must state the individual’s position or relationship to the
debtor, the identity of the document, and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property
by fraud in connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18
U.S.C. §§ 152, 1341, 1519, and 3571.



             Declaration and signature

          I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the
          partnership; or another individual serving as a representative of the debtor in this case.

          I have examined the information in the documents checked below and I have a reasonable belief that the information is true
          and correct:

      ☐     Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)
      ☐     Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
      ☐     Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
      ☐     Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
      ☐     Schedule H: Codebtors (Official Form 206H)
      ☐     Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
      ☐     Amended Schedule
      ☒     Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims and Are Not Insiders
            (Official Form 204)
      ☒     Other document that requires a declaration List of Equity Security Holders and Corporate Ownership Statement
    I declare under penalty of perjury that the foregoing is true and correct.


     Executed on                       02/14/2023                                    /s/ Eric Koza
                                       MM/ DD/YYYY                                  Signature of individual signing on behalf of debtor
                                                                                    Eric Koza
                                                                                    Printed name
                                                                                    Chief Restructuring Officer
                                                                                    Position or relationship to debtor

Official Form 202                                                    Declaration Under Penalty of Perjury for Non-Individual Debtors
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                                      UNANIMOUS WRITTEN CONSENT
                                      OF THE BOARD OF DIRECTORS OF
                                   EACH OF THE COMPANIES LISTED BELOW

                AVAYA CALA INC.                      AVAYA INC.                 KNOAHSOFT, INC.
               AVAYA CLOUD INC.                  AVAYA MANAGEMENT             SIERRA ASIA PACIFIC
                                                    SERVICES INC.                    INC.
                AVAYA EMEA LTD.                     AVAYA WORLD               UBIQUITY SOFTWARE
                                                    SERVICES INC.                CORPORATION
                 AVAYA FEDERAL                   HYPERQUALITY, INC.                 VPNET
                 SOLUTIONS, INC.                                              TECHNOLOGIES, INC

                                                      February 12, 2023

                   The undersigned, being all of the members of the board of directors (each individually,
            a “Board”) of each of the companies listed above, each a Delaware corporation (each
            individually, a “Company”), acting pursuant to Section 141(f) of the Delaware General
            Corporation Law, do hereby consent to the adoption of the following resolutions by the Board
            of Directors of each Company:

                    WHEREAS, each Board, having reviewed and considered (i) entry into the
            Restructuring Support Agreement, as defined herein, including all other exhibits, schedules,
            attachments, and ancillary documents or agreements related thereto, providing for the
            implementation of the Plan, as defined herein, consistent with the Restructuring Support
            Agreement and related disclosures, (ii) filing of that certain joint chapter 11 prepackaged plan
            of reorganization for each Company, reflecting the terms set forth in the Restructuring
            Support Agreement (as may be amended, modified, or supplemented from time to time, the
            “Plan”) and that certain disclosure statement supporting the Plan (as may be amended,
            modified, or supplemented from time to time, the “Disclosure Statement”) under the
            provisions of chapter 11 of title 11 of the United States Code, 11 U.S.C. § 101 et seq. (as
            amended, the “Bankruptcy Code”) in accordance with the milestones set forth in the
            Restructuring Support Agreement, (iii) commencement of solicitation of the Plan pursuant to
            section 1125(g) of the Bankruptcy Code, (iv) entry into and performance under the DIP
            Documents, as defined herein, (v) entry into that certain backstop commitment agreement,
            dated on or about the date hereof, (as may be amended, modified, or supplemented from time
            to time, the “Backstop Commitment Agreement”), which, among other things, authorizes each
            Company to issue new common stock pursuant to the terms set forth therein, and (vi) filing of
            a voluntary petition for relief for each Company under the Bankruptcy Code pursuant to
            applicable law and in accordance with the requirements of each Company’s governing
            documents and applicable law (together with the transactions contemplated by the
            Restructuring Support Agreement and incorporated in the Plan and Disclosure Statement,
            the “Restructuring Matters”);

                   WHEREAS, the Restructuring Support Agreement provides that it can be terminated if
            each Board determines, upon advice of counsel, that proceeding with the transactions
            contemplated thereby would be inconsistent with the exercise of its fiduciary duties or
            applicable law;

                  WHEREAS, each Board has reviewed and considered the materials presented by the
            management of each Company and each Company’s financial and legal advisors (collectively,
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            the “Restructuring Advisors”), and has had adequate opportunity to consult such persons
            regarding the materials presented, obtain additional information, and to fully consider each of
            the strategic alternatives available to each Company; and

                    NOW, THEREFORE, IT IS HEREBY RESOLVED, that, pursuant to the applicable
            governing documents of each Company, each Board does hereby adopt the following
            resolutions:

                    RESTRUCTURING SUPPORT AGREEMENT, PLAN, DISCLOSURE
                    STATEMENT,    SOLICITATION,     BACKSTOP COMMITMENT
                    AGREEMENT, AND CHAPTER 11 FILING

                    RESOLVED, that in the business judgment of each Board, it is desirable and in the
            best interest of each Company, its stakeholders, its creditors, and other parties in interest, that
            each Company finalize, execute, and deliver that certain restructuring support agreement (as
            may be amended, modified, or supplemented from time to time, the “Restructuring Support
            Agreement”), subject to any necessary modifications and final negotiations consistent with
            these Resolutions and, in accordance with the requirements in each Company’s governing
            documents and applicable law, hereby consents to, authorizes and approves, the entry into the
            Restructuring Support Agreement;

                   RESOLVED, that in the business judgment of each Board, the form, terms, and
            provisions of the Restructuring Support Agreement, and the agreements and transactions
            contemplated by the Restructuring Support Agreement be, and hereby are, in all respects,
            authorized and approved;

                    RESOLVED, that in the business judgment of each Board, it is desirable and in the
            best interest of each Company, its stakeholders, its creditors, and other parties in interest that
            each Company file or cause to be filed the Plan and the Disclosure Statement, and all other
            papers or documents (including any amendments) related thereto, and to take any and all
            actions necessary or appropriate to file or cause to be filed the Plan and the Disclosure
            Statement;

                    RESOLVED, that in the business judgment of each Board, it is desirable and in the
            best interest of each Company, its stakeholders, its creditors, and other parties in interest that
            each Company commence solicitation of the Plan, pursuant to section 1125(g) of the
            Bankruptcy Code and, in accordance with the requirements in each Company’s governing
            documents and applicable law, hereby consents to, authorizes and approves, the
            commencement of solicitation of the Plan;

                    RESOLVED, that the form, terms, and provisions of the Backstop Commitment
            Agreement, and the transactions contemplated by the Backstop Commitment Agreement
            (including, without limitation, each Company’s issuance of stock as per that agreement’s
            terms and conditions), and all other exhibits, schedules, attachments, and ancillary documents
            or agreements related thereto, if any, in connection therewith, be, and hereby are, authorized,
            adopted and approved;

                    RESOLVED, that in the business judgment of each Board, it is desirable and in the
            best interests of each Company, its stakeholders, its creditors, and other parties in interest to
            finalize, execute, and deliver the Backstop Commitment Agreement and all other exhibits,
            schedules, attachments, and ancillary documents or agreements, subject to necessary


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            modifications and final negotiations, and each Company’s performance of its obligations
            thereunder;

                    RESOLVED, that in the business judgment of each Board, it is desirable and in the
            best interest of each Company, its stakeholders, its creditors, and other parties in interest, that
            each Company files or causes to be filed voluntary petitions for relief (the “Bankruptcy
            Petitions”) under the provisions of chapter 11 of the Bankruptcy Code in the United States
            Bankruptcy Court for the Southern District of Texas (the “Bankruptcy Court”), and any other
            petition for relief or recognition or other order that may be desirable under applicable law in
            the United States, and, in accordance with the requirements in each Company’s governing
            documents and applicable law, hereby consents to, authorizes and approves, the filing of the
            Bankruptcy Petitions; and

                    RESOLVED, that any director or other duly appointed officer of each Company
            (collectively, the “Authorized Persons”), which shall include the Chief Restructuring Officer,
            the Chief Executive Officer, Chief Financial Officer, General Counsel, any Executive Vice
            President, or any Senior Vice President, shall be, and each of them individually hereby is,
            authorized and directed for and on behalf of each Company to take all actions (including,
            without limitation, to negotiate and execute any documents, certificates, supplemental
            agreements, and instruments) to act as signatory and attorney on behalf of each Company in
            respect of the Restructuring Matters and/or any persons to whom such Authorized Persons
            delegate certain responsibilities, be, and hereby are, authorized to execute and file on behalf of
            each Company all petitions, schedules, lists, and other motions, papers, or documents, and to
            take any and all action that they deem necessary or proper to obtain such relief, including, but
            not limited to, any action necessary or proper to maintain the ordinary course operations of
            each Company’s or any of its subsidiaries’ businesses.

                    RETENTION OF PROFESSIONALS

                     RESOLVED, that each of the Authorized Persons be, and hereby are, authorized,
            empowered, and directed to employ on behalf of each Company: (i) the law firm of Kirkland
            & Ellis LLP and Kirkland & Ellis International LLP as general bankruptcy counsel;
            (ii) the law firm of Jackson Walker LLP as co-bankruptcy counsel; (iii) Evercore Group LLC
            as     investment     banker;    (iv)    AlixPartners     LLP    as    restructuring   advisor;
            (v) PricewaterhouseCoopers LLP, as auditor; (vi) Kurtzman Carson Consultants LLC, as
            notice, claims, and balloting agent; and (vii) any other legal counsel, accountants, financial
            advisors, restructuring advisors or other professionals the Authorized Persons deem necessary,
            appropriate or advisable; each to represent and assist each Company in carrying out its duties
            and responsibilities and exercising its rights under the Bankruptcy Code and any applicable
            law (including, but not limited to, the law firms filing any pleadings or responses); and in
            connection therewith, the Authorized Persons be, and hereby are authorized, empowered and
            directed, in accordance with the terms and conditions hereof, to execute appropriate retention
            agreements, pay appropriate retainers, and to cause to be filed appropriate applications for
            authority to retain such services; provided that Mr. Koza, in his capacity as Chief
            Restructuring Officer, shall not take the actions contemplated by the foregoing resolution with
            respect to AlixPartners LLP; and

                   RESOLVED, that each of the Authorized Persons be, and hereby are, authorized,
            empowered and directed to execute and file all petitions, schedules, motions, lists,
            applications, pleadings, and other papers, and to perform such further actions and execute



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            such further documentation that the Authorized Persons in their absolute discretion deem
            necessary, appropriate or desirable in accordance with these resolutions.

                    USE OF CASH COLLATERAL, DEBTOR IN POSSESSION FINANCING,
                    AND ADEQUATE PROTECTION

                     RESOLVED, that in the business judgment of each Board, it is desirable and in the
            best interest of each Company, its stakeholders, its creditors, and other parties in interest to
            obtain the benefits of (i) the use of cash collateral, as such term is defined in section 363(a) of
            the Bankruptcy Code (the “Cash Collateral”), which is security for certain of Avaya Inc.’s
            (the “Borrower”) prepetition secured lenders and noteholders (the “Prepetition Secured
            Parties”) under certain credit facilities by and among the Borrower, the guarantors party
            thereto, and the lenders party thereto and certain notes issued by the Borrower; and
            (ii) the incurrence of debtor in possession financing obligations (the “DIP Financing”) by
            entering into that certain priming superpriority senior secured debtor in possession facility in
            the form of term loans (the “DIP Term Loan Facility”), subject to the terms of that certain
            credit agreement governing the DIP Term Loan Facility (the “DIP Term Loan Credit
            Agreement”), which, upon satisfaction of certain conditions, including the effectiveness of the
            Plan, will become a longer term senior secured exit term loan facility (the “Exit Term Loan
            Facility”) reflected in that certain Exit Term Loan Facility term sheet (the “Exit Term Loan
            Facility Term Sheet”), and by, if applicable, entering into that certain postpetition asset-
            backed revolving credit facility (the “DIP ABL Facility,” and together with the DIP Term
            Loan Facility, the “DIP Facilities”), subject to the terms of that certain commitment letter (the
            “DIP ABL Commitment Letter”), as reflected in the DIP ABL term sheet (the “DIP ABL
            Term Sheet”), with certain of the Prepetition Secured Parties and their administrative agent,
            Citibank N.A., which, upon satisfaction of certain conditions, will become a longer term
            senior secured exit asset-backed revolving credit facility (the “Exit ABL Facility”) reflected in
            that certain Exit ABL Facility term sheet, if any (the “Exit ABL Facility Term Sheet”);

                    RESOLVED, that in order to use and obtain the benefits of DIP Financing and Cash
            Collateral, and in accordance with section 363 of the Bankruptcy Code, each Company will
            provide certain adequate protection to the Prepetition Secured Parties (the “Adequate
            Protection Obligations”) as documented in proposed interim and final orders (collectively,
            the “Financing Orders”) to be submitted for approval of the Bankruptcy Court, and, to the
            extent that each Company is required to obtain consent from the Prepetition Secured Parties to
            enter into any of the DIP Documents, as defined herein, such consent has been (or will be)
            obtained;

                    RESOLVED, that in the business judgment of each Board, the form, terms, and
            provisions of each of the instruments and documents governing the DIP Facilities listed below
            (collectively, the “DIP Documents”), and each Company’s execution, delivery and
            performance of its obligations under the DIP Documents, including without limitation the
            grant of security interests under the DIP Documents, and any borrowings or guaranty
            therewith, be, and hereby are, in all respects, authorized and approved:

                  (a)     the DIP Commitment Letter (as defined in the DIP Documents);
                  (b)     the DIP ABL Commitment Letter, if any;
                  (c)     the DIP Term Loan Credit Agreement;
                  (d)     the DIP ABL Term Sheet, if any;



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                  (e)     the Exit Term Loan Facility Term Sheet;
                  (f)     the Exit ABL Facility Term Sheet, if any;
                  (g)     any promissory note executed by each Company in connection with the DIP
                          Faciltiies;
                  (h)     any guarantee executed in connection with the DIP Facilities;
                  (i)     any security agreement or pledge agreement executed in connection with the DIP
                          Facilities;
                  (j)     the Financing Orders; and
                  (k)     all other certificates, instruments and documents executed or delivered to or in
                          favor of any of the Commitment Parties (as defined in the DIP Documents) or
                          agents under the DIP Facilities in connection with the loans made and
                          transactions contemplated under the DIP Documents, as the same may be
                          amended, supplemented or replaced from the time to time;

                   RESOLVED, that to the extent applicable, each Company shall be, and is hereby,
            authorized to enter into the DIP Documents and incur the obligations thereunder (the “DIP
            Obligations”), and each of the Authorized Persons be, and hereby are, authorized, empowered,
            and directed in the name of, and on behalf of, each Company to execute deliver, and perform
            all of the obligations and the transactions contemplated under each of the DIP Documents in
            the name and on behalf of each Company, with such immaterial changes, additions, and
            modifications thereto as such Authorized Person shall approve, with such approval to be
            conclusively evidenced by such Authorized Person’s execution and delivery thereof;

                  RESOLVED, that each of the Authorized Persons be, and hereby are, authorized, in the
            name and on behalf of each Company, to take all such further actions, or cause all such further
            actions to be taken and to execute and deliver all such further agreements, documents,
            instruments, certificates recordings, and filings, in the name and on behalf of each Company,
            as in the determination of such Authorized Person shall be necessary, proper, or advisable in
            order to fully carry out the intent and accomplish the purposes of the foregoing resolutions
            and to consummate the transactions contemplated thereby, such authority to be conclusively
            evidenced by the execution of any document or the taking of any such action by such
            Authorized Person;

                  RESOLVED, that each of the Authorized Persons be, and hereby are, authorized, in the
            name and on behalf of each Company, to enter into any guarantees as described or
            contemplated by the DIP Documents or any other documents, certificates, instruments,
            agreements, intercreditor agreements, any extension amendment, any incremental agreement,
            or any other amendment required to consummate the transactions contemplated by the DIP
            Documents and perform its obligations thereunder and to guarantee the payment and
            performance of the DIP Obligations of each Company and any other guarantor thereunder;

                  RESOLVED, that each of the Authorized Persons be, and hereby are, authorized,
            empowered, and directed in the name of, and on behalf of, each Company to seek
            authorization to incur the DIP Obligations and approval to use Cash Collateral pursuant to the
            Financing Orders , and any Authorized Person be, and hereby is, authorized, empowered, and
            directed to negotiate, execute, and deliver any and all agreements, instruments, or documents,
            by or on behalf of each Company, necessary to implement the postpetition financing,



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            including the Adequate Protection Obligations to the Prepetition Secured Parties in
            accordance with section 363 of the Bankruptcy Code, as well as any additional or further
            agreements for entry into the DIP Documents and the use of Cash Collateral in connection
            with the chapter 11 case, which agreements may require each Company to grant adequate
            protection and liens to the Prepetition Secured Parties and each other agreement, instrument,
            or document to be executed and delivered in connection therewith, by or on behalf of each
            Company pursuant thereto or in connection therewith, all with such changes therein and
            additions thereto as any Authorized Person approves, such approval to be conclusively
            evidenced by the taking of such action or by the execution and delivery thereof;

                  RESOLVED, that each of the Authorized Persons be, and hereby are, authorized,
            directed, and empowered, in the name of, and on behalf of, each Company to take such
            actions and negotiate or cause to be prepared and negotiated and to execute, deliver, perform,
            and cause the performance of, each of the transactions contemplated by the DIP Documents
            and such other agreements, certificates, instruments, receipts, petitions, motions, or other
            papers or required documents to which each Company is or will be party or any order entered
            into in connection with the chapter 11 case (together with the DIP Documents and the
            Financing Orders, collectively, the “Financing Documents”) and to incur and pay or cause to
            be paid all related fees and expenses, with such changes, additions and modifications thereto
            as an Authorized Person executing the same shall approve;

                    RESOLVED, that each Company, as debtor and debtor in possession under the
            Bankruptcy Code be, and hereby is, authorized, empowered, and directed to incur any and all
            obligations and to undertake any and all related transactions on substantially the same terms
            as contemplated under the Financing Documents, including granting liens on its assets to
            secure such obligations; and

                    RESOLVED, that each of the Authorized Persons be, and hereby are, authorized,
            empowered, and directed in the name of, and on behalf of, each Company, to execute and
            deliver any amendments, supplements, modifications, renewals, replacements, consolidations,
            substitutions, and extensions of the postpetition financing or any of the Financing Documents
            or to do such other things which shall in his or her sole business judgment be necessary,
            desirable, proper, or advisable in order to perform the DIP Obligations and to give effect to
            the foregoing resolutions, which determination shall be conclusively evidenced by his or her
            or their execution thereof.

                    GENERAL

                    RESOLVED, that each Company is hereby authorized to authorize (and each
            Company hereby authorizes) any direct or indirect subsidiary of each Company or any entity
            of which such Company or any subsidiary of such Company is the sole member, general
            partner, managing member, or equivalent manager, as applicable, to take each of the actions
            described in these resolutions or any of the actions authorized in these resolutions, and none
            of the resolutions contained herein, or action taken in furtherance hereto, shall have or cause
            an adverse effect on any such subsidiary or such Company’s interest therein (including
            without limitation, any automatic dissolution, divestiture, dissociation, or like event under
            applicable law);

                   RESOLVED, that in addition to the specific authorizations heretofore conferred upon
            the Authorized Persons, the Authorized Persons (and their designees and delegates), either



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            individually or as otherwise required by each Company’s governing documents and applicable
            law, be, and each of them hereby is, authorized to execute, acknowledge, deliver, and file any
            and all agreements, certificates, instruments, powers of attorney, letters, forms, transfer, deeds
            and other documents on behalf of each Company relating to the Restructuring Matters;

                    RESOLVED, that each of the Authorized Persons (and their designees and delegates)
            be, and hereby is, authorized and empowered, in the name of and on behalf of each Company,
            to take or cause to be taken any all such other and further action, and to execute,
            acknowledge, deliver, and file any and all such agreements, certificates, instruments, and
            other documents and to pay all expenses, including but not limited to filing fees, in each case
            as in such Authorized Person’s or Authorized Persons’ absolute discretion, shall be necessary,
            appropriate, or desirable in order to fully carry out the intent and accomplish the purposes of
            the resolution adopted herein;

                    RESOLVED, that each Board has received sufficient notice of the actions and
            transactions relating to the matters contemplated by the foregoing resolutions, as may be
            required by the governing documents of each Company, or hereby waives any right to have
            received such notice;

                   RESOLVED, that all acts, actions, and transactions relating to the matters
            contemplated by the foregoing resolutions done in the name of and on behalf of each
            Company, which acts would have been approved by the foregoing resolutions except that such
            acts were taken before the adoption of these resolutions, are hereby in all respects approved,
            confirmed and ratified as the true acts and deeds of each Company with the same force and
            effect as if each such act, transaction, agreement, or certificate had been specifically
            authorized in advance by resolution of each Board; and

                    RESOLVED, that any Authorized Person (and their designees and delegates) be, and
            each of them hereby is, authorized to do all such other acts, deeds and other things as each
            Company itself may lawfully do, in accordance with its governing documents and applicable
            law, howsoever arising in connection with the matters above, or in furtherance of the
            intentions expressed in the foregoing resolutions, including, but not limited to, the negotiation,
            finalization, execution and delivery of any other agreements, certificates, instruments, powers
            of attorney, letters, forms, transfer, deeds and other documents whatsoever as the individual
            acting may in his/her absolute and unfettered discretion approve, deem or determine
            necessary, appropriate or advisable, such approval, deeming or determination to be
            conclusively evidenced by said individual taking such action or the execution thereof.

                                               *        *     *      *        *

                                                   [Signature Pages Follow]




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                    IN WITNESS WHEREOF, the undersigned have duly executed this consent as of
            the date first set forth above.



                                                             AVAYA INC.



                                                             By:
                                                             Name: Alan Masarek



                                                             By:
                                                             Name: Kevin Speed



                                                             By:
                                                             Name: David Barse




                                           [Signature Page to Omnibus Consent]
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                                                             AVAYA CALA INC.



                                                             By:
                                                             Name: Shefali Shah



                                                             By:
                                                             Name: Kevin Speed




                                           [Signature Page to Omnibus Consent]
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                                                             AVAYA CLOUD INC.



                                                             By:
                                                             Name: Shefali Shah



                                                             By:
                                                             Name: Kevin Speed




                                           [Signature Page to Omnibus Consent]
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                                                             AVAYA EMEA LTD.



                                                             By:
                                                             Name: Shefali Shah



                                                             By:
                                                             Name: Kevin Speed




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                                                             AVAYA FEDERAL SOLUTIONS INC.



                                                             By:
                                                             Name: Laura Jones




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                                                             AVAYA MANAGEMENT SERVICES INC.



                                                             By:
                                                             Name: Shefali Shah



                                                             By:
                                                             Name: Kevin Speed




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                                                             AVAYA WORLD SERVICES INC.



                                                             By:
                                                             Name: Shefali Shah



                                                             By:
                                                             Name: Kevin Speed




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                                                             HYPERQUALITY, INC.



                                                             By:
                                                             Name: Shefali Shah



                                                             By:
                                                             Name: Kevin Speed




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                                                             KNOAHSOFT, INC.



                                                             By:
                                                             Name: Shefali Shah



                                                             By:
                                                             Name: Kevin Speed




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                                                             SIERRA ASIA PACIFIC INC.



                                                             By:
                                                             Name: Shefali Shah



                                                             By:
                                                             Name: Kevin Speed




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DocuSign Envelope ID: A987E0C4-2C09-4C19-854A-5DEC08323FBA
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                                                             UBIQUITY SOFTWARE CORPORATION



                                                             By:
                                                             Name: Shefali Shah



                                                             By:
                                                             Name: Kevin Speed




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DocuSign Envelope ID: A987E0C4-2C09-4C19-854A-5DEC08323FBA
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                                                             VPNET TECHNOLOGIES, INC.



                                                             By:
                                                             Name: Shefali Shah



                                                             By:
                                                             Name: Kevin Speed




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